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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW MEXICO

                                 Before the Honorable GREGORY B. WORMUTH
                                  CRIMINAL CLERK’S MINUTES at Las Cruces
                                                                       Recording
Case Number:       25-216 MJ              Date:    2/26/2025                            LCR-SIERRA BLANCA
                                                                       Information:
Clerk:             KRISTIN SOLIS          Type of Hearing:             PRELIMINARY/DETENTION


Defendant(s):                                      Attorney(s):                                        Appt’d.   Ret’d.

STEPHEN CRAIG CAMPBELL                             DAVID BENATAR                                         ☒           ☐
Assistant
                      CLARA COBOS                  Interpreter:          N/A
U.S. Attorney:
Pretrial Services:    SISSY RICHARDSON             Court in Session:     9:22-9:28 A.M. /10:46-10:51 A.M. (11 MIN)


☒        Court advises Defendant of possible penalties and all constitutional rights

☒        Waiver of preliminary hearing & right to grand jury presentment filed in open court



☒        Defendant detained as a Flight Risk


         Other: AS TO DETENTION: MR. BENATAR REQUESTS A CONTINUANCE TO REVIEW THE
         GOVERNMENT’S BRIEF (FILED YESTERDAY AFTERNOON); AUSA COBOS DOES NOT OPPOSE
         PUTTING OFF THE HEARING TO THE END OF THE DOCKET, BUT REQUESTS DETENTION
         HEARING BE HELD TODAY.
         COURT RULING – COURT WILL CONTINUE HEARING TO THE END OF THE DOCKET TO
         ALLOW DEFENSE COUNSEL AND DEFENDANT TO REVIEW BRIEF; IF ADDITIONAL
         TIME/CONTINUANCE IS REQUESTED, COURT WILL HEAR ARGUMENT FROM DEFENSE
         COUNSEL REGARDING THE SAME.
         10:46 A.M. – CASE RECALLED.
 ☒
         DEFENSE COUNSEL HAS NOTHING TO OFFER REGARDING RELEASE.
         COURT RULING – COURT FINDS DEFENDANT TO BE A RISK OF NON-APPEARANCE AND
         DETAINS DEFENDANT PENDING TRIAL; ORDER TO BE FILED.
         AUSA COBOS ADDRESSES COURT REGARDING RULING AND ARGUES DEFENDANT IS A
         DANGER TO THE COMMUNITY AS WELL. COURT MAINTAINS RULING THAT DEFENDANT IS
         A FLIGHT RISK, AND WILL MAKE NOT MAKE A FINDING REGARDING DANGER.
         DEFENSE COUNSEL ADDRESSES COURT REGARDING DEFENDANT’S MEDICAL NEEDS;
         COURT INSTRUCTS U.S. MARSHAL SERVICE TO FOLLOW UP ON THE MATTER, BUT ADVISES
         DEFENDANT TO FOLLOW THE DETENTION CENTER’S INSTRUCTIONS REGARDING CARE.
